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         Instruction No. [To Replace Instruction No. 19 at Dkt. No. 587-1 at Page 22]

                       DEPOSITION IN LIEU OF LIVE TESTIMONY

        A deposition is the sworn testimony of a witness taken before trial. The witness was placed

under oath to tell the truth and lawyers for each party were permitted to ask questions. The ques-

tions and answers were recorded. When a person is unavailable to testify at trial, or is a repre-

sentative of a company, the deposition of that person may be used at the trial. The deposition of

Claudiu Gheorghe was taken on August 16, 2024. The deposition of Yaron Shohat was taken on

August 29, 2024. The deposition of Tamir Gazneli was taken on September 4, 2024. The depo-

sition of Ramon Eshkar was taken on August 27, 2024. The deposition of Sarit Bizinsky Gil was

taken on September 6, 2024. The deposition of Susan Glick was taken on September 9, 2024. The

deposition of Andrew Robinson was taken on September 19, 2024. Insofar as possible, you should

consider deposition testimony presented to you in court in the same way as if the witness had

testified in court.

    Do not place any significance on the behavior or tone of voice of any person reading the ques-

tions of answers.



        Authority: Ninth Circuit Manual of Model Civil Jury Instructions 2.4
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        Instruction No. [To Replace Instruction No. 22 at Dkt. No. 587-1 at Page 25]

                                       EXPERT OPINION

       You have heard testimony from Dana Trexler and Gregory Pinsonneault who testified

about their opinions and the reasons for those opinions. This opinion testimony is allowed, be-

cause of the specialized knowledge, skill, experience, training, or education of these witnesses.

       Such opinion testimony should be judged like any other testimony. You may accept it or

reject it and give it as much weight as you think it deserves, considering the witnesses’ special-

ized knowledge, skill, experience, training, or education, the reasons given for the opinions, and

all the other evidence in the case.



       Authority: Ninth Circuit Manual of Model Civil Jury Instructions 2.13
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            Instruction No. __ [to replace Instruction No. 7 in Dkt. 703-1 at page 8]

         COMPENSATORY DAMAGES - COMPUTER FRAUD AND ABUSE ACT

         You may award Plaintiffs compensatory damages for any loss Plaintiffs suffered as a result

of Defendants’ violations of the federal Computer Fraud and Abuse Act.

         Under the federal Computer Fraud and Abuse Act, a plaintiff can recover either for damage

to a computer or for certain losses. In this case, Plaintiffs seek to recover for alleged losses rather

than damage to a computer. Plaintiffs need not prove damage to a computer to recover for losses

under the federal Computer Fraud and Abuse Act.

         For purposes of the federal Computer Fraud and Abuse Act, recoverable losses may in-

clude:

         1. Plaintiffs’ costs of responding to the violation;

         2. Plaintiffs’ costs of conducting a damage assessment;

         3. Plaintiffs’ costs of restoring the data, program, system, or information to its prior con-

            dition;

         4. Plaintiffs’ costs of investigating the violation; and

         5. Plaintiffs’ costs of identifying the violation.



         Authority: 18 U.S.C. § 1030(g), (e)(11); Dkt. 686 at 17.
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           Instruction No. __ [to replace Instruction No. 8 in Dkt. 703-1 at page 9]

   COMPENSATORY DAMAGES - CALIFORNIA COMPREHENSIVE COMPUTER

                              DATA ACCESS AND FRAUD ACT

        You may award Plaintiffs compensatory damages for Defendants’ violations of the Cali-

fornia Comprehensive Computer Data and Access Fraud Act.

        Under the California Comprehensive Computer Data and Access Fraud Act, a plaintiff can

recover either for damage to a computer or for certain losses. In this case, Plaintiffs seek to recover

for alleged losses rather than damage to a computer. Plaintiffs need not prove damage to a com-

puter to recover for losses under the California Comprehensive Computer Data and Access Fraud

Act.

        For purposes of the California Comprehensive Computer Data and Access Fraud Act, re-

coverable losses include amounts sufficient to compensate Plaintiffs for the harm they suffered as

a result of any violations, including any expenditure reasonably and necessarily incurred by Plain-

tiffs to verify that their computers, computer system, computer network, computer program, and/or

data was or was not altered, damaged, or deleted by the access.



Authority: Cal. Penal Code § 502(e)(1).
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                                       Instruction No. 1

                                        REDACTIONS

       Certain documents received in evidence may have portions blacked out or otherwise re-

dacted. Redactions may be necessary for a variety of legal or evidentiary reasons. You should

not speculate or consider what would have been included in the document absent those redac-

tions. You should not consider the redactions during your deliberations.



       Authority: Instruction No. 16, Jury Instructions, Oracle USA, Inc. v. Rimini Street, Inc.,

No. 2:10-cv-00106-LRH (D. Nev. Oct. 6, 2015), Dkt. No. 880 at 17.
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                                          Instruction No. 2

      NO INFERENCES OR ASSUMPTIONS REGARDING THE IDENTITIES OF

                                 DEFENDANTS’ CUSTOMERS

        During trial, you have had heard references made to Defendants’ customers. I have ruled

that the identities of Defendants’ customers are not relevant to the issues in this trial. You should

not make any inferences or assumptions as to the identities of Defendants’ customers.



        Authority: Dkt. No. 494 at 11, 13; Dkt. No. 686 at 6 (“While the court will still need to

address objections to specific evidence as they arise, the court for now adopts plaintiffs’ coun-

sel’s suggestion and will allow defendants to argue that they licensed Pegasus to governments

and their agencies, but will not allow them to argue about those governments’ purported motives

related to crime, terrorism, child exploitation, or similar topics.”).
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                                         Instruction No. 3

  NO INFERENCES OR ASSUMPTIONS REGARDING IDENTITIES OF THE USERS

            ON WHOSE PHONES PEGASUS WAS INSTALLED VIA WHATSAPP

          During trial, you have had heard references to the users on whose phones Pegasus was

installed via WhatsApp. I have ruled that the identities of these users is not relevant to the issues

in this trial. You should not make any inferences as to the identities of the users on whose

phones Pegasus was installed via WhatsApp.



          Authority: Dkt. No. 686 at 9 (granting Defendants’ Motion in Limine No. 3 seeking to

exclude “evidence of the identities and occupations of the ~ 1,400 targets referenced in the com-

plaint”); id. at 8 (granting Plaintiffs’ Motion in Limine No. 6 seeking to preclude “evidence, tes-

timony, or argument about the alleged use of WhatsApp by terrorists, criminals, or other bad ac-

tors”).
